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                                    23 December 2024

The Honorable Leo I. Brisbois
United States Magistrate Judge
Room 412
Gerald W. Heaney Federal Building
and U.S. Courthouse
515 West First Street
Duluth, Minnesota 55802

         Re:    United States of America vs. Jerry Hal Saliterman
                Docket No. Criminal 24-72 PJS/LIB

Dear Magistrate Judge Brisbois:

        I write to inform you pursuant to your Second Amended Arraignment Notice and
Scheduling Order (Docket 32) at ¶ 8 that the Government and Defendant have conferred
in the above referenced matter and jointly inform the Court by this missive that neither
the Government nor Defendant intends to file motions in this matter, obviating the
necessity for a motions hearing to be held on 13 January 2025 pursuant to Id. at ¶ 14(a).

                                                    Very truly yours,

                                                    JOHN C. BRINK, LAWYER


                                                    John C. Brink

JCB:jb

cc:      Matthew Greenley
         Assistant United States Attorney
         (Via Electronic Case Filing system only)
